




Filed 5/8/18 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2018 ND 105









In the Interest of A.H.



Carissa Cowley, L.S.W., 		Petitioner and Appellee



v.



A.H., a child, A.H., father,

Lisa Borseth, Guardian ad Litem,

Christopher D. Jones, the Executive

Director of the North Dakota Department

of Human Services, 		Respondents



 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;and



L.B., mother, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Respondent and Appellant







No. 20180107







Appeal from the Juvenile Court of Cass County, East Central Judicial District, the Honorable Scott A. Griffeth, Judicial Referee.



AFFIRMED.



Per Curiam.



Constance L. Cleveland, Assistant State’s Attorney, Fargo, ND, for petitioner and appellee; submitted on brief.



Jay R. Greenwood, Fargo, ND, for respondent and appellant; submitted on brief.

Interest of A.H.

No. 20180107



Per Curiam.

[¶1]	
L.B. appealed from a juvenile court order terminating her parental rights to A.H. The juvenile court found the child is deprived, the conditions and causes of the deprivation are likely to continue, and the child is suffering or will probably suffer serious harm in the future. On appeal, the mother argues there was not clear and convincing evidence to support a termination of her parental rights. We conclude the juvenile court’s findings are supported by clear and convincing evidence and are not clearly erroneous. We summarily affirm under N.D.R.App.P. 35.1(a)(2).

[¶2]
	Gerald W. VandeWalle, C.J.

Jerod E. Tufte

Daniel J. Crothers

Lisa Fair McEvers

Jon J. Jensen


